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                                               No. 19-0038
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                                           Filed: May 17,2019

                                                   )
    ENNIS H.    PRATCHER,                          )
                                                   )
                              Plaintiff,           )
                                                   )
    v.)
                                                   )
    THE L]NITED      STATES,                       )
                                                   )
                              Defendant.           )


                                                 ORDER

            On January 2,2019, plaintiff filed his Complaint. See generally Complaint (hereinafter
   "Compl."). On March 4,2019, the government filed a motion to dismiss under Rules of tne
   court of Federal claims ("RCFC') 12(bX1), (6). see generaliy Defendant's Motion to Dismiss
   (hereinafter "Def.'s Mot."). Plaintiff s Response was originally due April 1,2019. The Coun,
   sua sponte, extended plaintiff s deadline an additional 2l days from April 12, 2019, requirrng
   plaintiff to respond to the govemment's Motion on or before May 3,2019. In the court's order,
   plaintiff was wamed that failure to respond on or before May 3,2019, would result in the
   dismissal of his claims.

            RCFC 41(b) provides that "[i]fthe plaintiff fails to prosecute or comply with these rules
   or a court order, the court may dismiss on its own motion or the defendant may move to dismiss
   the action or any claim against it." As pro se plaintiffs are, by their nature, unassisted, this court
   may sometrmes grant a pro se plaintiff greater lenience throughout the filing process. However,
   when a party fails to respond to defendant's motions and to subsequent Court Orders, dismissal
   is not only appropriate but is required to properly administer justice. "While dismissal of a claim
   is a harsh action, especially to apro se litigant, it is justified when a party fails to pursue
   litigation diligently and disregards the court's rules . . . ." Il/hiting v. united states,99 Fed. cl.
   13, 17 (2011) (citing Kadin Corp. v. United Stares, Tt2 F.2d 175, 176_77 (Fed. Cir. l936)).

          Accordingly, this case is DISMISSED, without prejudice, for failure to prosecute in
   accordance with RCFC 41(b), and all pending motions are dismissed as moot.


          IT IS SO ORDERED.

                                                    -- .Z rzl
                                                   Loren A. Smith, Senior Judge




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